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               IN THE UNITED STATES DISTRICT COURT FOR
                   THE MIDDLE DISTRICT OF ALABAMA
                           EASTERN DIVISION

SANDY L. STROZIER,                        )
                                          )
              Plaintiff,                  )
                                          )
       v.                                 ) CASE NO. 3:17-CV-853-WKW
                                          )
THE CITY OF LANETT;                       )
KYLE MCCOY, individually and in           )
his official capacity as Mayor of the     )
City of Lanett; JASON ABERNATHY, )
individually and in his official capacity )
as Code Enforcement Officer of the        )
City of Lanett,                           )
                                          )
              Defendants.                 )

                                       ORDER

     Before the court is the parties’ Stipulation of Dismissal. (Doc. # 40.) Although

styled as a stipulation, the parties request a court order of dismissal pursuant to Rule

41(a)(2) of the Federal Rules of Civil Procedure. Accordingly, the Stipulation of

Dismissal is CONSTRUED as a motion to dismiss under Rule 41(a)(2). It is

ORDERED that the motion to dismiss (Doc. # 40) is GRANTED and that this action

is DISMISSED with prejudice, with each party to bear his and its own costs.

      The Clerk of the Court is DIRECTED to close this action.

      DONE this 19th day of April, 2019.

                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
